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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN
                         SOUTHERN DIVISION

 UNITED STATES OF AMERICA,

                   Plaintiff,
                                            Case No. 15-20652
 vs.
                                            HON. GEORGE CARAM STEEH
 D-4 COREY BAILEY,

               Defendant.
 _____________________________/

          ORDER GRANTING IN PART AND DENYING IN PART
          MOTION FOR WRITTEN PROFFER AND HEARING ON
       ADMISSIBILITY OF CO-CONSPIRATORS’ STATEMENTS AND
       SETTING FORTH PROCEDURE TO BE FOLLOWED [DOC. 777]

       This matter is before the court on defendant Corey Bailey’s motion for

 a written proffer and hearing on admissibility of co-conspirators’

 statements. The motion has been joined in by defendants Graham, Gooch,

 Rogers, Adams, Arnold, Shy and Robinson [docs. 785, 786, 808, 795, 780,

 797 and 804]. The motion has been briefed and the court heard oral

 argument on January 4, 2017.

       The court will employ a process approved by the Sixth Circuit

 whereby statements are conditionally admitted “subject to later

 demonstration of their admissibility by a preponderance of the evidence.”

 United States v. Vinson, 606 F.2d 149, 153 (6th Cir. 1979); United States v.


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 Enright, 579 F.2d 980 (6th Cir. 1978). Statements the government intends

 to offer as co-conspirator statements will be admitted subject to defendants’

 continuing objection, and the government will be required to show by a

 preponderance of the evidence before the conclusion of the government’s

 case in chief that a conspiracy existed, that the defendants against whom

 the hearsay statement is offered were part of the conspiracy, and that the

 statement was made during and in furtherance of the conspiracy. Vinson,

 606 F.2d at 152-53; United States v. Odum, No. 15-2280, 2017 WL

 6524022, at *6 (6th Cir. Nov. 30, 2017); FRE 801(d)(2)(E).

       In order to minimize disruptions at trial, and to reduce the possibility

 of jurors hearing inadmissible evidence, the court will employ a procedure

 whereby the government is instructed to give notice to defendants of co-

 conspirator statements it will seek to introduce at least one day prior to

 offering such statements. The court will entertain an oral proffer as to the

 admissibility of said statements on the afternoon preceding the trial session

 in which the statements are anticipated to be offered into evidence.

 Proffers may include a statement of anticipated facts supporting a

 conclusion that the statements were made in furtherance of the conspiracy

 and/or argument describing why certain statements constitute verbal acts.

 Notice that is given to defendants during a proffer session, occurring the


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 afternoon prior to the co-conspirator statement being offered at trial, will

 constitute sufficient notice.

       So ordered.

 Dated: January 17, 2018
                                           s/George Caram Steeh
                                           GEORGE CARAM STEEH
                                           UNITED STATES DISTRICT JUDGE

                                  CERTIFICATE OF SERVICE

                   Copies of this Order were served upon attorneys of record on
                      January 17, 2018, by electronic and/or ordinary mail.

                                      s/Marcia Beauchemin
                                          Deputy Clerk




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